Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 1 of 65 PageID #: 5




              EXHIBIT “A”
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 2 of 65 PageID #: 6
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 3 of 65 PageID #: 7
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 4 of 65 PageID #: 8
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 5 of 65 PageID #: 9
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 6 of 65 PageID #: 10
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 7 of 65 PageID #: 11
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 8 of 65 PageID #: 12
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 9 of 65 PageID #: 13
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 10 of 65 PageID #: 14
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 11 of 65 PageID #: 15
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 12 of 65 PageID #: 16
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 13 of 65 PageID #: 17
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 14 of 65 PageID #: 18
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 15 of 65 PageID #: 19
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 16 of 65 PageID #: 20
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 17 of 65 PageID #: 21
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 18 of 65 PageID #: 22
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 19 of 65 PageID #: 23
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 20 of 65 PageID #: 24
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 21 of 65 PageID #: 25
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 22 of 65 PageID #: 26
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 23 of 65 PageID #: 27
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 24 of 65 PageID #: 28
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 25 of 65 PageID #: 29
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 26 of 65 PageID #: 30
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 27 of 65 PageID #: 31
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 28 of 65 PageID #: 32
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 29 of 65 PageID #: 33
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 30 of 65 PageID #: 34
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 31 of 65 PageID #: 35
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 32 of 65 PageID #: 36
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 33 of 65 PageID #: 37
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 34 of 65 PageID #: 38
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 35 of 65 PageID #: 39
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 36 of 65 PageID #: 40
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 37 of 65 PageID #: 41
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 38 of 65 PageID #: 42
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 39 of 65 PageID #: 43
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 40 of 65 PageID #: 44
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 41 of 65 PageID #: 45
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 42 of 65 PageID #: 46
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 43 of 65 PageID #: 47
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 44 of 65 PageID #: 48
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 45 of 65 PageID #: 49
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 46 of 65 PageID #: 50
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 47 of 65 PageID #: 51
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 48 of 65 PageID #: 52
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 49 of 65 PageID #: 53
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 50 of 65 PageID #: 54
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 51 of 65 PageID #: 55
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 52 of 65 PageID #: 56
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 53 of 65 PageID #: 57
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 54 of 65 PageID #: 58
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 55 of 65 PageID #: 59
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 56 of 65 PageID #: 60
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 57 of 65 PageID #: 61
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 58 of 65 PageID #: 62
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 59 of 65 PageID #: 63
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 60 of 65 PageID #: 64
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 61 of 65 PageID #: 65
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 62 of 65 PageID #: 66
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 63 of 65 PageID #: 67
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 64 of 65 PageID #: 68
Case 1:22-cv-00223-JJM-LDA Document 1-1 Filed 06/08/22 Page 65 of 65 PageID #: 69
